Case 1:15-cv-05345-AJN-KHP Document 657-3 Filed 05/10/18 Page 1 of 2




                Exhibit 16
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Case 1:15-cv-05345-AJN-KHP Document 657-3 Filed 05/10/18 Page 2 of 2
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                    WRITTEN CONSENT OF THE MANAGERS
                                            OF
                              SYRACUSE CENTER, LLC


               The undersigned Managers of Syracuse Center, LLC a New York limited
liability company (the "Company") and acting pursuant to New York Law and the
Company' s Operating Agreement, do hereby consent and adopt the resolutions set forth
below with the same force and effect as if they were approved and adopted at a duly
constituted meeting of the Managers of the Company.

      RESOLVED, that Adam Ibrahim, an individual residing at 51 B Edgewood Road,
Port Washington, NY 11050 with New York driver' s license number 572919787 issued
September 23, 2009, is hereby authorized to open a business checking account for -the
Company, and have check signing authority as an authorized signature on such account.

                The Consent may be executed in counterparts, each of which shall
 constitute an original, but all of which together shall constitute one document. Facsimile
 and scanned signatures shall be deemed as originals.

        IN WITNESS WHEREOF, the undersigned Managers have executed this written
 consent as of the dates set forth next to their respective signatures.




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 Felix Sater,
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                                                                                    Dated




  10 March 2010


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